Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 1 of 53




                      EXHIBIT 1
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 2 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 3 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 4 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 5 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 6 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 7 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 8 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 9 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 10 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 11 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 12 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 13 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 14 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 15 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 16 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 17 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 18 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 19 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 20 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 21 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 22 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 23 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 24 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 25 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 26 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 27 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 28 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 29 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 30 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 31 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 32 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 33 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 34 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 35 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 36 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 37 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 38 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 39 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 40 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 41 of 53
     Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 42 of 53



                               UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF LOUISIANA

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                                                                 :
UNITED STATES OF AMERICA,                                        :
EX REL. BRANCH CONSULTANTS, L.L.C.,                              :   Case No.: 06-cv-4091 (SSV)
                                                                 :
                                             Plaintiff,          :            Sect.: R
                                                                 :
                       v.                                        :
                                                                 :
ALLSTATE INS. CO., et al.,                                       :
                                                                 :
                                             Defendants.         :
                                                                 :
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          THE STANDARD FIRE INSURANCE COMPANY’S OBJECTIONS AND
           RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                 Pursuant to Rule 33 of the Federal Rules of Civil Procedure, The Standard Fire

Insurance Company (“Standard Fire”), named as St. Paul Travelers Companies, by and through

its undersigned counsel, provides the following objections and responses to Plaintiff’s First Set

of Interrogatories, dated November 20, 2009 (the “Interrogatories”).

                                        GENERAL OBJECTIONS

                 Standard Fire makes the following General Objections to the Interrogatories. The

General Objections set forth below apply to each individual Interrogatory. The assertion of the

same, similar, or additional objections in response to specific Interrogatories does not waive any

of Standard Fire’s General Objections:

                 1.       Standard Fire objects to the Interrogatories to the extent they seek

discovery of information from St. Paul Travelers Companies. No company named “St. Paul

Travelers Companies” currently exists or issued flood insurance policies in Louisiana.
    Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 43 of 53



               2.      Standard Fire objects to the Interrogatories to the extent they seek

discovery of information that is protected by the attorney-client privilege, joint defense privilege

or other applicable privilege, protection, or immunity or which otherwise constitutes attorney

work product material prepared in anticipation of litigation.

               3.      Standard Fire objects to the Interrogatories to the extent they seek to

impose obligations on Standard Fire that are inconsistent with or greater than the obligations

imposed by the Federal Rules of Civil Procedure or any court order that may be entered that

governs discovery.

               4.      Standard Fire objects to the Interrogatories to the extent they seek the

disclosure of information that is exclusively within the possession, custody or control of third

parties.

               5.      Standard Fire objects to the Interrogatories to the extent they seek

information that is a matter of public record or to which Branch has equal access.

               6.      Standard Fire objects to the Interrogatories to the extent they seek

information concerning insurance policies other than those that may be applicable to properties

identified in paragraph 31 of the First Amended Complaint. Such information is proprietary,

confidential, and irrelevant and not reasonably calculated to lead to the discovery of admissible

evidence.

               7.      Standard Fire objects to the Interrogatories to the extent they seek

information protected from disclosure by any protective order or non-disclosure agreement that

is binding on Standard Fire.




                                                 2
     Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 44 of 53



                   8.      Standard Fire reserves the right to challenge the relevance or materiality of

its responses to the Interrogatories in any subsequent proceeding or trial of this or any other

action.

                   9.      Standard Fire’s failure to object to the Interrogatories on a particular

ground shall not be construed as a waiver of its right to object on that ground or any other ground

at a later time.

                   10.     With respect to any documents that Standard Fire may identify in response

to the Interrogatories, Standard Fire does not waive, and specifically preserves, its right to object

to the authenticity and/or admissibility of any such documents in any subsequent proceeding,

including the trial of this or any other action.

                   11.     Standard Fire reserves the right to supplement or amend its responses to

the Interrogatories.

                         OBJECTIONS TO DEFINITIONS & INSTRUCTIONS

                   1.      Standard Fire objects to Branch’s Definitions and Instructions to the extent

they would impose obligations on Standard Fire that are inconsistent with or greater than the

obligations imposed by the Federal Rules of Civil Procedure or any court order that may be

entered that governs discovery.

                   2.      Standard Fire objects to the definition of “You” and “Your” on the

grounds that it identifies St. Paul Travelers Companies and to the extent it encompasses any

entity other than The Standard Fire Insurance Company and would require Standard Fire to

provide information that is not within its possession, custody, or control.

                   3.      Standard Fire objects to the definition of “WYO Insurer” and “Write-

Your-Own Insurer” to the extent it encompasses any entity other than The Standard Fire




                                                     3
    Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 45 of 53



Insurance Company or would require Standard Fire to provide information that is not within its

possession, custody, or control.

               4.     Standard Fire objects to the definition of “Claim File” to the extent it

would impose obligations on Standard Fire that are inconsistent with or greater than the

obligations imposed by the Federal Rules of Civil Procedure or any court order that may be

entered that governs discovery. Standard Fire further objects to the definition of “Claim File” to

the extent it encompasses documents and information for insurance policies other than those

concerning properties identified in paragraph 31 of the First Amended Complaint.

               5.      Standard Fire objects to the definition of “Document” and “electronically

stored information” to the extent it would impose obligations on Standard Fire that are

inconsistent with or greater than the obligations imposed by the Federal Rules of Civil Procedure

or any court order that may be entered that governs discovery. Standard Fire further objects to

the definition of “Document” and “electronically stored information” on the grounds that it is

overbroad and unduly burdensome.

               6.     Standard Fire objects to the definition of “Native format” to the extent it

would impose obligations on Standard Fire that are inconsistent with or greater than the

obligations imposed by the Federal Rules of Civil Procedure or any court order that may be

entered that governs discovery. Standard Fire further objects to the definition of “Native format”

on the grounds that it is overbroad and unduly burdensome.

               7.     Standard Fire objects to the definition of “Covered Flood Properties” to

the extent it encompasses properties that have not been identified in paragraph 31 of the First

Amended Complaint.




                                                 4
    Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 46 of 53



               8.      Standard Fire objects to the definition of “Covered Flood Claims” to the

extent it encompasses claims related to properties that have not been identified in paragraph 31

of the First Amended Complaint. Standard Fire uses “Covered Flood Claims” in its responses to

mean claims for Hurricane Katrina flood damage submitted to Standard Fire for those properties

identified in paragraph 31 of the First Amended Complaint and for which Standard Fire issued

flood insurance policies.

               9.      Standard Fire objects to the definition of “Covered Wind Properties” to

the extent it encompasses properties that have not been identified in paragraph 31 of the First

Amended Complaint.

               10.     Standard Fire objects to the definition of “Covered Wind Claims” to the

extent it encompasses claims for properties that have not been identified in paragraph 31 of the

First Amended Complaint. Standard Fire uses “Covered Wind Claims” in its responses to mean

claims for Hurricane Katrina wind damage submitted to Standard Fire or an affiliated company

for those properties identified in paragraph 31 of the First Amended Complaint and for which

Standard Fire or an affiliated company issued homeowners insurance policies.

               11.     Standard Fire objects to the relevant time period for the Interrogatories as

overbroad, unduly burdensome, not relevant to the claim or defense of any party, and not

calculated to lead to the discovery of admissible evidence. In responding to the Interrogatories,

Standard Fire will treat the relevant time period as commencing on July 1, 2005 and continuing

through to the filing of the complaint in this action on August 2, 2006.




                                                 5
    Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 47 of 53



                                          RESPONSES

Interrogatory No. 1:

What are the total number and dollar amount of Covered Flood Claims submitted by You to the
Government?

Objection and Response to Interrogatory No. 1:

Subject to, incorporating and without waiving its objections set forth above, Standard Fire will
produce documents reflecting the total number and dollar amount of Covered Flood Claims
submitted by Standard Fire to the Government upon entry of an appropriate confidentiality order.

Interrogatory No. 2:

What are the total number and dollar amount of Covered Wind Claims paid by You?

Objection and Response to Interrogatory No. 2:

Subject to, incorporating and without waiving its objections set forth above, Standard Fire states
that its records do not reflect that it issued a homeowners policy covering a property identified in
paragraph 31 of the First Amended Complaint. Therefore, Standard Fire paid no Covered Wind
Claims.

Interrogatory No. 3:

What is the total amount of fees paid to You by the Government for servicing the Covered Flood
Claims?

Objection and Response to Interrogatory No. 3:

Subject to, incorporating and without waiving its objections set forth above, Standard Fire states
that it will produce documents sufficient to reflect the terms of payment for servicing Covered
Flood Claims upon entry of an appropriate confidentiality order.

Interrogatory No. 4:

Describe in detail all estimates made by You of the total losses You expected to incur as a result
of damage caused by Hurricane Katrina, including but not limited to reserves set aside by You
for Katrina losses, the date each such estimate was prepared and by whom.

Objection and Response to Interrogatory No. 4:

Standard Fire objects to Interrogatory No. 4 as overbroad, unduly burdensome, not relevant, not
calculated to lead to the discovery of admissible evidence and seeking Standard Fire’s
confidential and proprietary information. Subject to, incorporating, and without waiving its



                                                 6
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 48 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 49 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 50 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 51 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 52 of 53
Case 2:06-cv-04091-SSV-SS Document 327-2 Filed 01/29/10 Page 53 of 53
